            Case 1:23-cr-00135-RP Document 134 Filed 09/30/24 Page 1 of 1
                                                                                   FILED
                                                                            September 30, 2024
                                                                            CLERK, U.S. DISTRICT COURT
                                 United States District Court               WESTERN DISTRICT OF TEXAS
                                  Western District of Texas
                                      Austin Division                               Julie Golden
                                                                         BY: ________________________________
                                                                                                 DEPUTY
 United States of America,
        Plaintiff,

         v.                                                     No. 1:23-CR-135

 Saint Jovite Youngblood,
         Defendant.

                                            Order

       The Court finds the Government’s Motion For Leave To File Documents Under Seal

meritorious. Accordingly,

       IT IS ORDERED THAT Attachments A through G to the Government’s sentencing

memorandum shall be SEALED until further order of this Court, for substantially the reasons

stated in the Government’s motion, except that the parties may use copies as appropriate during

the resolution of this matter.

       IT IS FINALLY ORDERED that the Government’s sentencing memorandum shall remain

unsealed.



Signed this the _________
                  30th    day of ________________________,
                                  September                2024.



                                                    ____________________________________
                                                    Robert Pitman
                                                    United States District Judge
